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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA _ : Case No: 22-cr-183 (FYP)

Vv.
40 U.S.C. § 5104(e)(2)(G)
MICHEAL POMEROY, et al.,

Defendants.
STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 1 1, the United States of Amcrica, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Michael Pomeroy, with the concurrence of his attorney, agree and stipulate to the below factual
basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties
stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification arc allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
3. On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol. During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the United
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States Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,
which had taken place on November 3, 2020. The joint session began at approximately 1:00 p.m.
Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate
chambers to resolve a particular objection. Vice President Mike Pence was present and
presiding, first in the joint session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5 At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $2.7 million dollars for repairs.

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vs Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
causcd by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
' proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

Pomeroy’s Participation in the January 6, 2021, Capitol Riot

8. On January 6, 2021, the defendant Michacl Pomeroy, traveled from Pennsylvania
to Washington, D.C. to participate in the “stop the steal” rally. The defendant traveled with other
members of a Pennsylvania political group called Free PA.

9. At approximately 1:59 p.m., Pomeroy was part ofa crowd on the East Plaza of the
U.S. Capitol. Many individuals in the crowd held flags and signs. Pomeroy was wearing a black
Pittsburgh Steclers baseball cap, an American flag scarf, anda black “Free PA” hoodie under a
dark vest.

10. When other members of the crowd removed metal security barriers used by the
Capitol police to prevent unlawful access into the restricted area of the Capitol grounds,

Pomeroy went forward into the restricted area and climbed the steps to the East Rotunda door,

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while officers of the U.S. Capitol Police attempted to prevent the crowd from advancing further
and entering the building.

11. At approximately 2:45 p.m., Pomeroy entered the U.S. Capitol building with a
crowd of other people, at a time and place where lawful access was restricted.

12. | Pomeroy entered on the second floor on the east side of the building walked to
several locations, including the Capitol Rotunda. Pomeroy used his phone to take pictures and/or
videos inside the Capitol.

13. Pomeroy exited the Capitol building at approximately 3:05 p.m. through the same

door that he had entered.

Elements of the Offense
14. Michael Pomeroy knowingly and voluntarily admits to all the elements of
Parading, Demonstrating or Picking in a Capitol Building, a violation of Title 40, United States
Code, Section 5104(c)(2)(G). Specifically, defendant admits that he was inside the U.S. Capitol
Building knowing that he did not have permission to be inside. Defendant further admits that

while inside the Capitol, he willfully and knowingly paraded or demonstrated.

Respectfully submitted,

Matthew M. Graves
United States Attorney
D.C. Bar No. 481052

py; Blur hdl

Brian Morgan
Trial Attorney

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DEFENDANT’S ACKNOWLEDGMENT

 

I, Michael Pomeroy, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

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Michael Pomeroy
Defendant

ATTORNEY’S ACKNOWLEDGMENT

 

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: | | | 3 Nate “

Jonathan W. Crisp
Attorngy for Defendant

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